Case 1:10-cr-20410-JAL Document 481 Entered on FLSD Docket 11/22/2010 Page 1 of 12
Case 1:10-cr-20410-JAL Document 481 Entered on FLSD Docket 11/22/2010 Page 2 of 12
Case 1:10-cr-20410-JAL Document 481 Entered on FLSD Docket 11/22/2010 Page 3 of 12
Case 1:10-cr-20410-JAL Document 481 Entered on FLSD Docket 11/22/2010 Page 4 of 12
Case 1:10-cr-20410-JAL Document 481 Entered on FLSD Docket 11/22/2010 Page 5 of 12
Case 1:10-cr-20410-JAL Document 481 Entered on FLSD Docket 11/22/2010 Page 6 of 12
Case 1:10-cr-20410-JAL Document 481 Entered on FLSD Docket 11/22/2010 Page 7 of 12
Case 1:10-cr-20410-JAL Document 481 Entered on FLSD Docket 11/22/2010 Page 8 of 12
Case 1:10-cr-20410-JAL Document 481 Entered on FLSD Docket 11/22/2010 Page 9 of 12
Case 1:10-cr-20410-JAL Document 481 Entered on FLSD Docket 11/22/2010 Page 10 of 12
Case 1:10-cr-20410-JAL Document 481 Entered on FLSD Docket 11/22/2010 Page 11 of 12
Case 1:10-cr-20410-JAL Document 481 Entered on FLSD Docket 11/22/2010 Page 12 of 12
